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    BRUCE A. BLAKEMAN                                                 THOMAS A. ADAMS
      County Executive                                                  County Attorney




                                     COUNTY OF NASSAU
                                OFFICE OF THE COUNTY ATTORNEY

                                                            January 16, 2025
 Via ECF
 Honorable Brian M. Cogan
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:    Kahlon v. County of Nassau, et al.
               Docket No. 24-CV-02439 (BMC)


 Your Honor:

        This office represents defendant County of Nassau (the “County”) in the above-
 referenced matter. For the reasons set forth below, the County respectfully requests that the
 Court schedule a Zoom conference as soon as possible to discuss the admissibility of grand
 jury minutes in connection with the County’s motion for summary judgment.

          As Your Honor will recall, plaintiff Yossef Kahlon (”plaintiff”) commenced this
 action against the County and codefendant/counterclaimant Celine Boulben (“Boulben”)
 arising out of his arrest on charges of sexual assault. Ms. Boulben claimed in her
 Counterclaim that plaintiff sexually abused her in his home in his Great Neck, New York
 home on January 25, 2021. After an intensive investigation into Ms. Boulben’s complaint, the
 Nassau County Police Department arrested plaintiff on August 19, 2021. Plaintiff’s criminal
 case was tried to jury, and he was acquitted on October 10, 2023. Plaintiff then commenced
 this action.

        After completion of discovery, in a Zoom conference held January 2, 2025 Your
 Honor granted permission for the County to file a motion for summary judgment pursuant to
 Fed. R. Civ. P. 56. The Court directed the County to serve its moving papers upon plaintiff’s
 counsel no later than Monday, January 27, 2025.

         Following that conference, plaintiff withdrew all of his claims against the County
 except for his claim of malicious prosecution under New York state law. As set forth in the
 parties’ proposed Joint Pretrial Order filed this afternoon [DE 33] plaintiff’s malicious
 prosecution claim is based on his contention that the Assistant District Attorney who
 presented the case to the grand jury intentionally withheld exculpatory evidence. Plaintiff
 claims that had the ADA presented this allegedly exculpatory evidence, the grand jury would
 have voted “No True Bill” and thus, he would never have been arrested and brought to trial.




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       Plaintiff’s claim against the County for malicious prosecution and his defense to the
 County’s motion for summary judgment is set forth in the JPTO as follows:

                Mr. Kahlon’s claim to be tried as against the County of Nassau
                is for malicious prosecution arising under New York State law,
                through the doctrine of respondeat superior, for knowingly
                securing the indictment and prosecution of Mr. Kahlon without
                probable cause and with malice through the use of materially
                incomplete presentations of evidence and the withholding of
                material exculpatory information. See, e.g., Tardif v. City of
                New York, 344 F. Supp.3d 579, 592 (S.D.N.Y. 2018) (“there is
                no requirement that respondeat superior liability be predicated
                on the conduct of an individual who is named as a defendant in
                the suit”). See also Triolo v. Nassau County, 24 F.4th 98, 110-
                11 (2d Cir. 2022) (allowing vicarious liability even if agent is
                individually immune); Cabble v. City of New York, 2010 WL
                1222035, at *3 (S.D.N.Y. 2010) (“the grand jury’s decision to
                indict depended largely on the credibility of the complaining
                witnesses,” and “[a]ll of the exculpatory evidence … withheld
                from the grand jury relates to the credibility of the complaining
                witnesses,” such that “had this information caused the jurors to
                discredit the witnesses’ testimony it is reasonable to believe that
                the grand jury would not have indicted Plaintiff”).

        In addition, in the JPTO plaintiff lists his trial exhibit No. 14 as “Minutes of Boulben
 grand jury testimony.” Because of the secrecy afforded to grand jury matters, the County is
 unable to properly move for summary judgment.

         As this Court is well aware, grand jury proceedings are secret and, with few
 exceptions, may not be disclosed unless as part of one’s lawful duties, or upon written order
 of the court. New York Criminal Procedure Law (“C.P.L.”) § 190.25(4)(a); see also Baynes
 v. Ruderfer, 234 F. Supp 3d 574, 577 (S.D.N.Y 2017). Thus, to prove his case, Plaintiff must
 rely upon a document that is statutorily protected against disclosure, and which has not been
 unsealed through a court order. Pursuant to C.P.L. § 245 discovery Plaintiff was entitled to—
 and did receive—a copy of the testimony of a witness called to testify during Kahlon’s
 criminal trial. That possession, however, did not extend use of the transcript in the context of
 a civil case arising from, or as a result of, criminal proceedings. See Matter of District
 Attorney of Suffolk County, 58 N.Y. 2d 436, 443 (1983) (court has authority to prevent further
 disclosure or dissemination of Grand Jury testimony).

         As the Court of Appeals noted, the secrecy of grand jury proceedings is so seriously
 regarded, that unauthorized disclosure is punishable as a felony. Id. at fn. 6. Consequently, at
 their recent depositions, neither of the Assistant District Attorney witnesses were able to
 discuss the grand jury proceedings and were, thus, statutorily prohibited from disproving
 plaintiff’s unfounded claims. Although federal courts are not constrained by the dictates of
 C.P.L. § 190.25(a)(4), plaintiff has not made application to the state court demonstrating “a
 particularized need” for release of the grand jury transcripts, nor has he sought an order from

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 this Court. See, e.g., Domni v. County of Nassau, et al., 2020 WL 7625417, at *6 (2020).
 Furthermore, while a witness may authorize the release of her own grand jury testimony, upon
 information and belief, that has not been done in this case either.

         Under these circumstances, without access to the transcript of Ms. Boulben’s grand
 jury testimony, it is impossible for the County to serve its motion for summary judgment on
 January 27, 2025. To date, plaintiff’s counsel has filed o motion in any court for an order
 compelling the unsealing of the grand jury minutes.

         The County therefore respectfully requests that Your Honor schedule a Zoom
 conference as soon as possible to determine whether plaintiff gain access to the grand jury
 minutes. If the Court were to permit plaintiff to utilize these grand jury minutes in opposing
 the County’s motion, since the County has no access to the minute there is no possible way
 for the County to serve its moving papers by January 27, 2025.

         If the Court is inclined to allow plaintiff to utilize these minutes in opposing the
 County’s motion, the County will need an extension of time beyond January 27, 2025 in order
 to receive and review the minutes before drafting and serving its motion.

       For the foregoing reasons, the County respectfully requests that the Court schedule a
 Zoom conference as soon as possible to discuss the unsealing of the grand jury minutes.

        I thank Your Honor for your attention and consideration in this matter.

                                                            Respectfully submitted,

                                                            /s/ Ralph J. Reissman
                                                            RALPH J. REISSMAN
                                                            Deputy County Attorney
 cc: (via ECF)
 All counsel of record




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